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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

KENNETH NASSET             * CIVIL ACTION NO. 18-9253
                    Plaintiff,
                           *
                           * JUDGE ZAINEY
                           *
VERSUS                     * MAG. VAN MEERVELD
                           *
UNITED STATES OF AMERICA   * SEC. A(1)
                           *
                Defendant. *
****************************

                                       ORDER

      Considering the Ex Parte Motion For Leave To File Sur-Reply in Support of

Plaintiff’s Opposition to Motion for Summary Judgment:

      IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave is GRANTED and

Plaintiff’s Sur-Reply in Support of Plaintiff’s Opposition to Motion for Summary

Judgment [R. Doc. 72] is hereby filed and entered into the record.



                                5th day of November, 2020.
    Thus done and signed this ______



                                           ___________________________________
                                           HONORABLE JAY C. ZAINEY
                                           UNITED STATES DISTRICT JUDGE
